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13
     A&D Engineering, Inc. d/b/a A&D Medical
14

15                             UNITED STATES DISTRICT COURT

16                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

17
                                                 Case No. 3:21-cv-09595
18   DISPLAY TECHNOLOGIES, LLC,
                                                 DEFENDANT A&D MEDICAL’S
19          Plaintiff,
                                                 AFFIRMATIVE DEFENSES, AND
     v.                                          COUNTERCLAIMS TO PLAINTIFF’S
20
                                                 COMPLAINT
21   A&D MEDICAL COMPANY, LIMITED,

            Defendant.                           JURY TRIAL DEMANDED
22

23
          DEFENDANT A&D MEDICAL’S ANSWER, AFFIRMATIVE DEFENSES, AND
24                COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT
25

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1           Defendant A&D Engineering, Inc. d/b/a A&D Medical 1 (“A&D Medical”) files its
2    Answer, Affirmative Defenses, and Counterclaims to Plaintiff Display Technologies, LLC’s
3    (“Plaintiff” or “Display”) Complaint. A&D Medical denies the allegations and characterizations
4    in Plaintiff’s Complaint unless expressly admitted in the following paragraphs.
5                                    PARTIES AND JURISDICTION
6           1.      A&D Medical admits that the Complaint purports to set forth an action for
7    infringement under the Patent Laws of the United States, Title 35 of the United States Code. A&D
8    Medical admits that Plaintiff seeks injunctive relief and damages but denies that Plaintiff is entitled
9    to any relief from A&D Medical.
10          2.      A&D Medical admits that this Court has subject matter jurisdiction over this action
11   pursuant to 28 U.S.C. §§ 1331 and 1338(a).
12          3.      A&D Medical is without knowledge or information sufficient to form a belief as to
13   the truth of the allegations in Paragraph 3 of the Complaint and, on that basis, denies all such
14   allegations.
15          4.      A&D Medical admits that it is a California corporation with its principal office at
16   1756 Automation Parkway, San Jose, CA 95131. A&D Medical is without knowledge or
17   information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 4
18   of the Complaint and, on that basis, denies all such allegations.
19          5.      A&D Medical does not contest whether personal jurisdiction over it properly lies
20   in this District in this case, or that it conducts business in this District. A&D Medical denies it has
21   committed or is committing acts of infringement within this District and, on that basis, denies the
22   remaining allegations of Paragraph 5 of the Complaint.
23          6.      A&D Medical admits that the presently accused A&D Medical BP monitor is used,
24   imported, offered for sale, and/or sold in this District.
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       Display Technologies filed suit against “A&D Medical Company, Limited,” but the correct
     legal entity is A&D Engineering, Inc., which does business as A&D Medical.
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1                                                    VENUE
2            7.      A&D Medical does not contest whether venue is proper in this District in this case,
3    that it is a resident of this District, or that it has a regular and established place of business in this
4    District. A&D Medical denies it has committed or is committing acts of infringement within this
5    District and, on that basis, denies the remaining allegations of Paragraph 7 of the Complaint.
6                                                   COUNT I
7         ([ALLEGED] INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)
8            8.      A&D Medical incorporates by reference its responses in Paragraphs 1-7 above as
9    if fully set forth herein.
10           9.      A&D Medical admits, based solely on the allegations of the Complaint and without
11   admitting them as true, that the Complaint purports to allege a cause of action arising under the
12   patent laws of the United States, 35 U.S.C. §§ 271, et seq.
13           10.     A&D Medical is without knowledge or information sufficient to form a belief as to
14   the truth of the allegations in Paragraph 10 of the Complaint and, on that basis, denies all such
15   allegations.
16           11.     A&D Medical admits that the purported copy of the ’723 Patent, titled “Enabling
17   social interactive wireless communications,” is attached to the Complaint as Exhibit A.
18           12.     A&D Medical denies that the ’723 Patent is valid, enforceable, and duly issued in
19   full compliance with Title 35 of the United States Code.
20           13.     A&D Medical admits it makes, uses, and/or sells the A&D Connect App and A&D
21   BP monitor but denies that it has committed or is committing acts of infringement and, on that
22   basis, denies the remaining allegations of Paragraph 13 of the Complaint.
23           14.     A&D Medical denies the allegations in Paragraph 14 of the Complaint.
24           15.     A&D Medical denies the allegations in Paragraph 15 of the Complaint.
25           16.     A&D Medical denies the allegations in Paragraph 16 of the Complaint.
26           17.     A&D Medical denies the allegations in Paragraph 17 of the Complaint.
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1            18.      A&D Medical denies the allegations in Paragraph 18 of the Complaint.
2            19.      A&D Medical denies the allegations in Paragraph 19 of the Complaint.
3            20.      A&D Medical denies the allegations in Paragraph 20 of the Complaint.
4            21.      A&D Medical denies the allegations in Paragraph 21 of the Complaint.
5            22.      A&D Medical denies the allegations in Paragraph 22 of the Complaint.
6            23.      A&D Medical denies the allegations in Paragraph 23 of the Complaint.
7            24.      A&D Medical denies the allegations in Paragraph 24 of the Complaint.
8            25.      A&D Medical is without knowledge or information sufficient to form a belief as to
9    the truth of the allegations in Paragraph 25 of the Complaint and, on that basis, denies all such
10   allegations.
11                               [PLAINTIFF’S] PRAYER FOR RELIEF
12           A&D Medical denies that Plaintiff is entitled to any relief from A&D Medical and denies
13   all the allegations contained in Plaintiff’s Prayer for Relief.
14                                      AFFIRMATIVE DEFENSES
15           A&D Medical’s Affirmative Defenses are listed below. A&D Medical reserves the right to
16   amend its answer to add additional Affirmative Defenses consistent with the facts discovered in
17   this case.
18                                  FIRST AFFIRMATIVE DEFENSE
19           A&D Medical has not infringed and does not infringe, under any theory of infringement
20   (including directly (whether individually or jointly) or indirectly (whether contributorily or by
21   inducement)), any valid, enforceable claim of the ’723 Patent.
22                                SECOND AFFIRMATIVE DEFENSE
23           Each asserted claim of the ’723 Patent is invalid for failure to comply with one or more of
24   the requirements of the United States Code, Title 35, including without limitation, 35 U.S.C.
25   §§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.
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1                                   THIRD AFFIRMATIVE DEFENSE
2           The claims of the ’723 Patent are not entitled to a scope sufficient to encompass any system
3    employed or process practiced by A&D Medical.
4                                 FOURTH AFFIRMATIVE DEFENSE
5           Plaintiff’s right to seek damages and other remedies from A&D Medical is limited by 35
6    U.S.C. §§ 285, 286, 287, and/or 288, and may additionally be limited by 28 U.S.C. § 1498. For
7    example, on information and belief, Plaintiff, its predecessors in interest, and/or its licensees failed
8    to comply with or provide notice under the marking requirements of 35 U.S.C. § 287(a) and
9    Plaintiff may not obtain damages for the period of time prior to the operative Complaint.
10                                  FIFTH AFFIRMATIVE DEFENSE
11          Plaintiff’s Complaint fails to state a claim upon which relief can be granted because, among
12   other things, Plaintiff has not stated a plausible allegation that A&D Medical makes, uses, or sells
13   each claimed element of any asserted claim, or that A&D Medical directs or controls another entity
14   to make, use, or sell any element that is not made, used, or sold by A&D Medical.
15                                  SIXTH AFFIRMATIVE DEFENSE
16          A&D Medical does not infringe any claims of the ’723 Patent pursuant to 35 U.S.C. § 273.
17                                SEVENTH AFFIRMATIVE DEFENSE
18          Plaintiff’s Complaint fails to state a claim upon which relief can be granted because, among
19   other things, Plaintiff has not stated a plausible allegation that A&D Medical makes, uses, or sells
20   each claimed element of any asserted claim, or that A&D Medical directs or controls another entity
21   to make, use, or sell any element that is not made, used, or sold by A&D Medical.
22                               A&D MEDICAL’S COUNTERCLAIMS
23          For its counterclaims against Plaintiff Display Technologies, LLC (“Display”),
24   Counterclaim Plaintiff A&D Engineering Inc. d/b/a A&D Medical (“A&D Medical”) alleges as
25   follows:
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1                                                 PARTIES
2           1.      Counterclaim Plaintiff A&D Engineering, Inc. d/b/a A&D Medical is a corporation
3    organized and existing under the laws of the State of California, with its principal office located at
4    1756 Automation Parkway, San Jose, CA 95131.
5           2.      Upon information and belief based solely on Paragraph 3 of the Complaint as pled
6    by Plaintiff, Counterclaim Defendant Display is a limited liability company organized and existing
7    under the laws of the State of Texas, and maintains its principle place of business at 1 East Broward
8    Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
9                                             JURISDICTION
10          3.      A&D Medical incorporates by reference Paragraphs 1-2 above.
11          4.      These counterclaims arise under the patent laws of the United States, Title 35,
12   United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq.,
13   and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.
14          5.      Display has consented to the personal jurisdiction of this Court at least by
15   commencing its action for patent infringement in this District, as set forth in its Complaint.
16          6.      Based solely on Display’s filing of this action, venue is proper, though not
17   necessarily convenient, in this district pursuant at least 28 U.S.C. §§ 1391 and 1400.
18                                                COUNT I
19                     DECLARATION REGARDING NON-INFRINGEMENT
20          7.      A&D Medical incorporates by reference Paragraphs 1–6 above.
21          8.      Based on Display’s filing of this action and at least A&D Medical’s First
22   Affirmative Defense, an actual controversy has arisen and now exists between the parties as to
23   whether A&D Medical infringes U.S. Patent No. 9,300,723.
24          9.      A&D Medical does not infringe the ’723 Patent because, among other things, the
25   accused A&D Connect App and A&D BP monitor do not include a wireless mobile device and
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1    media system being structured to transmit at least one digital media file therebetween via said
2    communication link.
3           10.     A&D Medical does not infringe the ’723 Patent because, among other things, the
4    accused A&D Connect App and A&D Medical BP monitor do not include a communication link
5    structured to bypass the security measure of the media system for a limited permissible use of the
6    communication link by the wireless mobile device for only transferring the at least one digital
7    media file to, and displaying the at least one digital media file on, the media system.
8           11.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq., A&D
9    Medical requests a declaration by the Court that A&D Medical has not infringed and does not
10   infringe any claim of the ’723 Patent under any theory (including directly (whether individually or
11   jointly) or indirectly (whether contributorily or by inducement)).
12                                                COUNT II
13                           DECLARATION REGARDING INVALIDITY
14          12.     A&D Medical incorporates by reference Paragraphs 1–10 above.
15          13.     Based on Display’s filing of this action and at least A&D Medical’s Second
16   Affirmative Defense, an actual controversy has arisen and now exists between the parties as to the
17   validity of the claims of the ’723 Patent.
18          14.     On information and belief, the claims of the ’723 Patent are invalid for failure to
19   comply with one or more of the requirements of United States Code, Title 35, and the rules
20   regulations, and laws pertaining thereto.
21          15.     The ’723 Patent is anticipated and/or rendered obvious by, inter alia, U.S. Pat. Nos.
22   7,624,417, 8,700,729, and/or 8,244,179.
23          16.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq., A&D
24   Medical requests a declaration by the Court that claims 19 and 20 of the ’723 Patent are invalid
25   for failure to comply with one or more of the requirements of United States Code, Title 35,
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1    including without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and
2    laws pertaining thereto.
3                                             JURY DEMAND
4           A&D Medical hereby demands trial by jury on all issues in these Counterclaims.
5                                         PRAYER FOR RELIEF
6           WHEREFORE, A&D Medical asks this Court to enter judgment in A&D Medical’s favor
7    and against Display by granting the following relief:
8           a)       a declaration that the ’723 Patent is invalid;
9           b)       a declaration that A&D Medical does not infringe, under any theory, any valid
10   claim of the ’723 Patent that may be enforceable;
11          c)       a declaration that the ’723 Patent is unenforceable;
12          d)       a declaration that Display take nothing by its Complaint;
13          e)       judgment against Display and in favor of A&D Medical;
14          f)       dismissal of the Complaint with prejudice;
15          g)       a finding that this case is an exceptional case under 35 U.S.C. § 285 and an award
16   to A&D Medical of its costs and attorneys’ fees incurred in this action; and
17          h)       further relief as the Court may deem just and proper.
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1    Dated: February 11, 2022                        Respectfully submitted,
2
                                                     FISH & RICHARDSON P.C.
3

4                                                    By: /s/ Rodeen Talebi
                                                         Rodeen Talebi (SBN 320392)
5

6                                                    COUNSEL FOR DEFENDANT
                                                     A&D ENGINEERING, INC. D/B/A A&D
7                                                    MEDICAL

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10                                  CERTIFICATE OF SERVICE

11          The undersigned hereby certifies that a true and correct copy of the above and foregoing

12   document has been served on February 11, 2022, to all counsel of record who are deemed to

13   have consented to electronic service via the Court’s CM/ECF system per Local Rule 5.2(a).

14                                                      /s/ Rodeen Talebi
                                                        Rodeen Talebi
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